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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA                       INDICTMENT

                 v.                            Case No. ______________________

THOMAS ALEXANDER STARKS                        Violation: 18 U.S.C. § 1361

                Injury or Depredation Against Government Property

The Grand Jury Charges:

       On or about December 21, 2020, in the District of North Dakota,

                           THOMAS ALEXANDER STARKS

willfully and by means of an ax, did injure and commit a depredation against property of

the United States and property which had been manufactured and constructed for the

United States, that is, an office for United States Senator John Hoeven located in Fargo,

North Dakota, thereby causing damage to such property in excess of $1,000.00;

       In violation of Title 18, United States Code, Section 1361.

                                          A TRUE BILL:


                                          /s/ Foreperson
                                          Foreperson
/s/ Drew H. Wrigley
DREW H. WRIGLEY
United States Attorney

RML/ljc
